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                         UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF FLORIDA (FT. LAUDERDALE)

                                 Case No. 0:19-cv-60752-RAR – Ruiz

  BRENDA BELL, individually and on behalf            CLASS ACTION
  of others similarly situated

          Plaintiff,

          v.

  ROYAL SEAS CRUISES, INC.,

        Defendant.
  __________________________________/

                   DEFENDANT’S MOTION TO COMPEL ARBITRATION
                 AND TO DISMISS PLAINTIFF’S CLASS ACTION COMPLAINT

          Defendant Royal Seas Cruises, Inc. (“RSC”) moves to compel arbitration and to dismiss

  this action with prejudice under the Federal Arbitration Act, 9 U.S.C. § 1 et seq. (“FAA”) and

  Rule 12(b)(1) of the Federal Rules of Civil Procedure. Alternatively, RSC moves to compel

  arbitration under the FAA and to stay this proceeding under Section 3 of the FAA until the

  arbitrator enters a final award.

                                     PRELIMINARY STATEMENT

          Plaintiff, Brenda Bell (“Plaintiff”), filed her Class Action Complaint (“Complaint”) on

  March 22, 2019, alleging claims under the Telephone Consumer Protection Act, 47 U.S.C. § 227

  et seq. (“TCPA”). However, Plaintiff expressly agreed to arbitrate the claims in her Complaint,

  and waived her right to a jury trial as well as to bring a class action suit or class arbitration

  against RSC; therefore, her Complaint must be dismissed and her claims compelled to

  arbitration.
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                                           INTRODUCTION

           On September 11, 2018, Plaintiff visited http://www.consumerproductsusa.com

  (“Site”), a website owned and operated by RewardZone USA, LLC, (“RewardZone”). See Ex. A

  at ¶ 6 (Bhadania Decl.). Upon landing on the Site, Bell provided her identifying information and

  agreed to the terms and conditions of the Site (“Terms and Conditions”), “which includes

  mandatory arbitration”, by clicking the “Continue” button on the registration page. Id. at ¶¶ 7 &

  8. The mandatory arbitration clause (“Arbitration Agreement”) was contained in the Terms and

  Conditions, and conspicuously hyperlinked directly above the “Continue” button. See id. at ¶ 9.

  Specifically, the arbitration provision calls for binding arbitration for:

         any disputes or claims you may have with us and our affiliates, advertiser clients
         and marketing partners (collectively, “Marketing Partners”) who are third party
         beneficiaries of the mandatory arbitration provision. Thus, for example, if you
         provide prior express written consent to be contacted via telemarketing or
         SMS/text messaging, any claims you may have regarding any telemarketing or
         SMS/text messages you receive are subject to the mandatory arbitration
         provision. The mandatory arbitration provision also waives your right to
         participate in a class action or multi-party arbitration. You may opt-out of the
         mandatory arbitration provision by providing written notice of your decision
         within thirty (30) days of the date that you first register on an [RewardZone]
         Website.

  Id. at ¶ 9; Ex. B at 1 (emphasis added). When Plaintiff clicked continue and proceeded to the

  next page, she was provided with a hyperlink to the list of “Marketing Partners”. Id. at 12. RSC

  was one of the “Marketing Partners” displayed when the hyperlink was clicked. Id. at ¶ 13.

  Plaintiff then confirmed her registration and agreement to be bound by the Terms and Conditions

  by clicking continue again. Id. at ¶ 14. Plaintiff’s claims must be submitted to arbitration on an

  individual basis.

         Additionally, in this lawsuit Plaintiff complains that her telephone number ending in

  3250 was registered on the National Do Not Call Registry and she received “pre-recorded voice

  calls” from RSC that were “unsolicited” and for which she “never provided her express written


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  or oral consent” to receive. See Dkt. No. 1 at ¶¶ 18-22. On this basis she seeks to represent a

  putative nationwide class of purported similarly aggrieved persons on three (3) separate TCPA

  claims. However, Plaintiff provided prior express written consent “to receive phone sales calls

  and test messages” from RSC “using an autodialer” and/or “pre-recorded messages.” See Ex. A

  at ¶¶ 11, 12.

                                             ARGUMENT

        I.      LEGAL STANDARD

             Arbitration agreements are governed by and enforceable under the FAA. See Gilmer v.

  Interstate/Johnson Lane Corp., 500 U.S. 20, 23-24 (1991). The FAA and the strong federal

  policy favoring arbitration, require courts to “rigorously enforce agreements to arbitrate.”

  Mitsubishi Motors Corp. v. Soler Chrysler-Plymouth, Inc., 473 U.S. 614, 626 (1985). The

  Eleventh Circuit treats a motion to compel arbitration as a Rule 12(b)(1) motion to dismiss for

  lack of subject matter jurisdiction. See, Shriever v. Navient Solutions, Inc., 2014 WL 7273915,

  at *2 (M.D. Fla. Dec. 19, 2014). Accordingly, in ruling on a motion to compel arbitration, the

  Court may consider matters outside of the four corners of the complaint. Mamani v. Sanchez

  Berzain, 636 F. Supp. 2d 1326, 1329 (S.D. Fla. 2009).

             “Federal law establishes the enforceability of arbitration agreements, while state law

  governs the interpretation and formation of such agreements.” Employers Ins. of Wausau v.

  Bright Metal Specialties, Inc., 251 F.3d 1316, 1322 (11th Cir. 2009) (citing Perry v. Thomas,

  482 U.S. 483 (1987) ). “Federal law counsels that questions of arbitrability, when in doubt,

  should be resolved in favor of arbitration.” Id. (citing Moses H. Cone Mem'l Hospital v. Mercury

  Constr. Corp., 460 U.S. 1, 24 (1983) ); Klay v. All Defendants, 389 F.3d 1191, 1200 (11th Cir.

  2004) (explaining that “it is the role of courts to ‘rigorously enforce agreements to arbitrate’ ”




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  and to construe any doubt in favor of arbitrability). “The Arbitration Act establishes that, as a

  matter of federal law, any doubts concerning the scope of arbitrable issues should be resolved in

  favor of arbitration, whether the problem at hand is the construction of the contract language

  itself or an allegation of waiver, delay, or a like defense to arbitrability.” Mercury Construction,

  460 U.S. at 24-25 (footnote omitted).

         “[U]nder the FAA, no party can be compelled to arbitrate unless that party has entered

  into an agreement to do so.” Employers Ins. of Wausau v. Bright Metal Specialties, Inc., 251

  F.3d 1316, 1322 (11th Cir. 2001) (citation omitted); see Seaboard Coastline R.R. v. Trailer

  Train Co., 690 F.2d 1343, 1352 (11th Cir. 1982). “[W]hen determining whether an arbitration

  agreement exists, ‘courts generally ... should apply ordinary state-law principles that govern the

  formation of contracts.’” Dasher v. RBC Bank (USA), 745 F.3d 1111, 1116 (11th Cir. 2014)

  (citations omitted). Even in this age of internet commerce, traditional contract-based principles

  of offer and acceptance still guide the determination of whether a valid arbitration agreement

  exists. See Bazemore v. Jefferson Capital Sys., LLC, 827 F.3d 1325, 1329 (11th Cir. 2016)

  (“whether an arbitration agreement exists at all is simply a matter of contract”) (internal

  quotations and citations omitted); Register.com, Inc. v. Verio, Inc., 356 F.3d 393, 403 (2d Cir.

  2004) (commerce conducted over the internet “has not fundamentally changed the principles of

  contract”).

         Section 4 of the FAA permits a court to compel arbitration when one party – as in the

  instant case – has failed, neglected, or refused to comply with an arbitration agreement. 9 U.S.C.

  § 4; see also McDougal v. Comcast Corp., No. 16-81906-CIV, 2017 WL 3726040, at *2 (S.D.

  Fla. Feb. 24, 2017).    A district court must consider three factors on a motion to compel

  arbitration: “(1) whether a valid agreement to arbitrate exists; (2) whether an arbitrable issue




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  exists; and (3) whether the right to arbitrate was waived.” Pierre-Louis v. CC Solutions, LLC,

  No. 17-60781, 2017 WL 4841428, at *2 (S.D. Fla. Oct. 26, 2017) (citing Nat'l Auto Lenders, Inc.

  V. Syslocate, Inc., 686 F. Supp. 2d 1318, 1322 (S.D. Fla. 2010)).

         Finally, There is no reason a statutory claim, like the TCPA claims here, cannot be

  arbitrated. See Green Tree Fin. Corp.-Alabama v. Randolph, 531 U.S. 79, 92, 121 S.Ct. 513,

  148 L.Ed.2d 373 (2000) (“[T]he party seeking to avoid arbitration bears the burden of

  establishing that Congress intended to preclude arbitration of the statutory claims at issue.”);

  accord Mackler v. Fitness Int'l, LLC, No. 16-80150-CIV, 2016 WL 7756623, at *2 (S.D. Fla.

  Apr. 22, 2016) (citing Green Tree with approval). In fact, TCPA claims such as Plaintiff’s are

  routinely compelled to arbitration. See, e.g., Garcia v. Kendall Lakes Auto., LLC, No. 18-24397-

  CIV, 2019 WL 1359475 (S.D. Fla. Mar. 26, 2019); Greenberg v. Doctors Assocs., Inc., 338 F.

  Supp. 3d 1280 (S.D. Fla. 2018); Drozdowski v. Citibank, Inc., No. 2:15-CV-2786-STA-CGC,

  2016 WL 4544543 (W.D. Tenn. Aug. 31, 2016); Brown v. DIRECTV, LLC, No. CV 12-08382

  DMG EX, 2013 WL 3273811 (C.D. Cal. June 26, 2013). Further, nothing in the TCPA evinces

  an intention to foreclose arbitration. See Gilmer v. Interstate/Johnson Lane Corp., 500 U.S. 20,

  26, 111 S.Ct. 1647, 114 L.Ed.2d 26 (1991).

                      a.        A Valid Written Arbitration Agreement Exists

         As a threshold issue, the Arbitration Agreement also includes a clause giving the

  arbitrator “exclusive authority to resolve any dispute including any claim that all or any part of

  the Terms & Conditions, including this provision, are unenforceable.” Ex. B at 5-6. This

  delegation provision in the agreement to arbitrate, which Plaintiff agreed to, sends the question

  of the validity and enforceability of the Arbitration Agreement along with any gateway issues to

  the arbitrator. See, e.g., Buckeye Check Cashing, Inc. v. Cardegna, 546 U.S. 440, 440 (2006) (“a




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  challenge to the validity of a contract as a whole, and not specifically to the arbitration clause

  within it, must go to the arbitrator, not the court”); Jones v. Waffle House, Inc., 866 F.3d 1257,

  1264 (11th Cir. 2017) (upholding “delegation provision” in arbitration agreement in which

  parties had “agree[d] to arbitrate gateway questions of arbitrability including the enforceability,

  scope, applicability, and interpretation of the arbitration agreement”). If Plaintiff questions the

  validity of the Arbitration Agreement, this Court’s analysis ends and the validity question goes to

  the arbitrator.

          Nevertheless, should the Court’s analysis of the validity of the Arbitration Agreement

  continue, under the FAA a written provision to arbitrate is “valid, irrevocable, and enforceable,

  save upon such grounds as exist at law or in equity for the revocation of any contract.” 9 U.S.C.

  § 2. The “threshold question of whether an arbitration agreement exists at all is ‘simply a matter

  of contract.’” Greenberg v. Doctors Assocs., Inc., No. 1:18-CV-22505-UU, 2018 WL 4927910,

  at *1 (S.D. Fla. Aug. 29, 2018) (internal citations omitted). A valid agreement to arbitrate is

  formed where there is mutual assent to certain and definite contractual terms, such as the

  agreement the Plaintiff entered into with RSC. See id. at *2.

          By clicking on the “I Confirm” box and the “Continue” buttons, Plaintiff agreed to the

  Arbitration Agreement that governs her claims here. One of the primary means of forming a

  contract on the internet is the “‘clickwrap’ (or ‘click-through’) agreement, in which website users

  typically click an ‘I agree’ box after being presented with a list of terms and conditions of use.”

  IT Strategies Grp., Inc. v. Allday Consulting Grp., L.L.C., 975 F. Supp. 2d 1267, 1280 (S.D. Fla.

  2013) (quoting Hines v. Overstock.com, 668 F.Supp.2d 362, 366 (E.D.N.Y.2009). “Courts

  routinely uphold clickwrap agreements for the principal reason that the user has affirmatively

  assented to the terms of agreement by clicking ‘I agree.’” Meyer v. Uber Techs., Inc., 868 F.3d




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  66, 75 (2d Cir. 2017) (citing Fteja v. Facebook, Inc., 841 F.Supp.2d 829, 837 (S.D.N.Y. 2012)

  (collecting cases)); see also Whitt v. Prosper Funding LLC, No. 1:15-CV-136-GHW, 2015 WL

  4254062, at *5 (S.D.N.Y. July 14, 2015) (collecting cases). The clickwrap agreements here –

  both to arbitrate and to provide consent to receive calls and texts from RSC – and the

  accompanying hyperlinks to the Terms and Conditions and the list of Marketing Partners were

  conspicuous and clear. Plaintiff was made aware of the Arbitration Clause and affirmatively

  agreed to it, see Ex. A at ¶¶6-10; she cannot dispute that she agreed to the Terms and Conditions.

  There is a valid agreement to arbitrate so the first factor is met.

                b. Each of Plaintiff’s TCPA Claims Raises an Arbitrable Issue

            The Arbitration Agreement specifically calls for arbitration of Plaintiff’s TCPA claims

  against RSC and clearly advised Plaintiff of the scope of disputes that were covered by the

  clause.

            Mandatory Arbitration. These Terms contain a mandatory arbitration provision
            below that requires you to arbitrate individually any disputes or claims you may
            have with us and our affiliates, advertiser clients and marketing partners
            (collectively, “Marketing Partners”) who are third party beneficiaries of the
            mandatory arbitration provision. Thus, for example, if you provide prior express
            written consent to be contacted via telemarketing or SMS/text messaging, any
            claims you may have regarding any telemarketing or SMS/text messages you
            receive are subject to the mandatory arbitration provision. The mandatory
            arbitration provision also waives your right to participate in a class action or
            multi-party arbitration. You may opt-out of the mandatory arbitration provision
            by providing written notice of your decision within thirty (30) days of the date
            that you first register on an [RewardZone] Website.

  Id. at ¶ 9; Ex. B at 1 (emphasis added). The Terms and Conditions go on to state:

            Arbitration/Dispute Resolution. If you have a dispute concerning . . . a
            telemarketing call or SMS/text message you received from us or a Marketing
            Partner . . . . you must submit your dispute for resolution by arbitration before
            the American Arbitration Association ("AAA") in the county where you live by
            filing a separate Demand for Arbitration online by following the instructions at
            https://apps.adr.org/webfile/.

  Ex. B at 6 (emphasis added).


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         The plain language of the provision shows the parties’ intent to have arbitration serve as

  the primary recourse for disputes connected to calls or texts from RSC – the prime example

  included in the clause speaks directly to Plaintiff’s TCPA claims here. In determining the scope

  of the arbitration clause, courts look at the parties’ intent to submit the dispute to arbitration,

  starting at the language of the arbitration provision, and construing any doubt in favor of

  arbitrability in accordance with the strong federal policy favoring arbitration.            See, e.g.,

  Mitsubishi, 473 U.S. at 626 (“Thus, as with any other contract, the parties’ intentions control, but

  those intentions are generously construed as to issues of arbitrability.”).

         Plaintiff cannot deny she electronically entered into the Arbitration Agreement and

  consented to receive the communications she now complains of. See Ex. A at ¶¶ 6-16. Plaintiff

  also cannot deny that the plain language of the Arbitration Agreement reflects the parties’ intent

  to arbitrate claims under the TCPA. Under Florida law, “the plain meaning of the actual

  language used by the parties [in a contract] controls.” Pol v. Pol, 705 So. 2d 51, 53 (Fla. 3d

  DCA 1997). The Terms and Conditions plainly call for arbitration of Plaintiff’s Claims.

         Plaintiff also cannot dispute that RSC, as an intended third party beneficiary of the

  Arbitration Agreement, is allowed to enforce the clause and compel arbitration of Plaintiff’s

  claims. “Non-parties to a contract containing an arbitration clause cannot compel parties to a

  contract to arbitrate unless it is determined that they are a third party beneficiary to the contract.”

  Peters v. The Keyes Co., 402 F. App'x 448, 451 (11th Cir. 2010) (quoting Fla. Power & Light

  Co. v. Road Rock, Inc., 920 So.2d 201, 203 (Fla.Dist.Ct.App.2006). “To qualify as a third-party

  beneficiary, the [arbitration clause] had to be executed ‘for the primary and direct benefit of’”

  RSC.      Id. (quoting Morgan Stanley DW Inc. v. Halliday, 873 So.2d 400, 403

  (Fla.Dist.Ct.App.2004)). The Arbitration Agreement states that “any disputes or claims you may



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  have with us “and our affiliates, advertiser clients and marketing partners (collectively,

  “Marketing Partners”) who are third party beneficiaries of the mandatory arbitration

  provision” must be arbitrated. The clause clearly is intended for the primary and direct benefit

  of the “Marketing Partners”, including RSC. See Ex. A at ¶ 13.

          If Plaintiff resists arbitration, she has the “burden of proving that the claims at issue are

  unsuitable for arbitration.” Mackler, 2016 WL 7756623, at *2 (internal citation and quotation

  omitted); (emphasis added)).      That unsuitability has to be real, not merely a speculative

  contention, and cannot undercut the FAA. Id. When in doubt, questions of arbitrability are

  resolved in favor of arbitration. As the Supreme Court made clear long-ago the FAA is “a

  congressional declaration of a liberal federal policy favoring arbitration agreements,

  notwithstanding any state substantive or procedural policies to the contrary.” Moses H. Cone

  Mem'l Hosp. v. Mercury Constr. Corp., 460 U.S. 1, 24, 103 S. Ct. 927, 941, 74 L. Ed. 2d 765

  (1983). An arbitrable issue exists regarding the Plaintiff’s TCPA claims, therefore the second

  factor is met.

               c. RSC Has Not Waived the Right to Arbitrate Plaintiff’s Claims

         Plaintiff filed her lawsuit on March 22, 2019, and served it six (6) days later. RSC filed

  its Answer and Affirmative Defenses on May 9, 2019, and has not otherwise filed any paper or

  taken an inconsistent position on the right under the FAA to require Plaintiff to arbitrate. At the

  time of filing its Answer, RSC was unaware of Plaintiff’s consent and agreement to arbitrate

  through the RewardZone website. Of course Plaintiff failed to mention it and RSC was still in

  the process of conducting the investigation into Plaintiff’s claims. As soon as RSC learned that

  Plaintiff had consented to the complained-of communications and agreed to arbitrate, and had

  received the Declaration from RewardZone, the undersigned promptly notified counsel for




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   Plaintiff, via email, and provided the Bhadania Declaration (Ex. A). See Ex. C.1 This was done

   just six (6) days after RSC’s time had lapsed to amend its responsive pleading as a matter of

   course. See 15(a)(1). Thus, RSC’s minor delay in compelling arbitration was not in bad faith or

   for dilatory reasons, and does not unduly prejudice Plaintiff.

           The Eleventh Circuit has found prejudice where a party litigates for some time before

   invoking its arbitration right, thereby forcing the other party to incur substantial time and

   expense.     See, e.g., Morewitz v. W. of England Ship Owners Mut. Prot. & Indem. Ass'n

   (Luxembourg), 62 F.3d 1356, 1366 (11th Cir. 1995) (finding prejudice where the party asserting

   waiver demonstrated that its adversary allowed, at a minimum, five years to pass-the time

   between the liability action and the enforcement action-before invoking its right to arbitrate);

   Stone v. E.F. Hutton & Co., 898 F.2d 1542, 1543 (11th Cir. 1990) (same after one year and eight

   month delay). There has been no such delay here, where RSC notified Plaintiff of its intent to

   move to compel arbitration as soon as it learned of the Arbitration Agreement. Additionally,

   “both Florida and federal law favor arbitration, therefore any party arguing waiver of arbitration

   bears a heavy burden of proof.” Mixed Fighting Aliance Promotions, Inc. v. De La Noval, No.

   11-21107-CIV, 2011 WL 13223750, at *4 (S.D. Fla. Oct. 18, 2011). Thus, “questions regarding

   the waiver of arbitration should be construed in favor of arbitration rather than against it.”

   Garcia, 2019 WL 1359475, at *6.

           Whether there is a “[w]aiver of the right [to arbitrate] does not necessarily depend on the

   timing of the motion to compel arbitration, but rather on the prior taking of an inconsistent

   position by the party moving therefor.” Miller & Solomon Gen. Contractors, Inc. v. Brennan's


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     The email with Ex. A contained confidential information and is subject to Federal Rule of Evidence 408, and is
   therefore not attached to this motion. However, the undersigned’s follow up email, sent on the same day, notified
   Plaintiff’s counsel of RSC’s intention to seek leave to amend RSC’s Affirmative Defenses to include the class action
   waiver and arbitration as a defense, and to move to compel arbitration.


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   Glass Co., 824 So. 2d 288, 290 (Fla. 4th DCA 2002) (internal citation omitted); see also

   Versailles Sur La Mer Condo. Ass'n, Inc. v. Lexington Ins. Co., No. 618CV1125ORL37TBS,

   2018 WL 3827154, at *4 (M.D. Fla. July 24, 2018), report and recommendation adopted, No.

   618CV1125ORL37TBS, 2018 WL 3817758 (M.D. Fla. Aug. 10, 2018) (“A party claiming

   waiver of arbitration must demonstrate: 1) knowledge of an existing right to arbitrate and 2)

   active participation in litigation or other acts inconsistent with the right.”) (quoting Ibis Lakes

   Homeowners Ass’n, Inc. v. Ibis Isle Homeowners Ass’n, Inc., 102 So. 3d 722, 730-731 (Fla. 4th

   DCA 2012)). RSC has not taken an inconsistent position simply by filing an Answer prior to

   filing this Motion. RSC has not actively participated in litigation and immediately notified

   Plaintiff and sought to amend its pleading to assert its right to arbitration as soon as it became

   aware if the Arbitration Agreement.

            II.   THE CASE SHOULD BE DISMISSED, NOT STAYED

          Each of Plaintiff’s claims are brought under the TCPA and must be submitted to

   arbitration. The FAA provides, in pertinent part, that a court compelling arbitration “shall on

   application of one of the parties[,] stay the trial of the action until such arbitration has been had

   in accordance with the terms of the agreement.” Cusolito v. Citibank, N.A., No. 0:17-CV-60963-

   WPD, 2017 WL 8890662, at *3 (S.D. Fla. Oct. 6, 2017) (quoting 9 U.S.C. § 3) (emphasis

   added). Despite this statutory language, this District has made clear that “[t]he weight of

   authority clearly supports dismissal of the case when all of the issues raised in the district

   court must be submitted to arbitration.” Cusilito at *3 (internal citations omitted; emphasis

   added). See also Garcia, 2019 WL 1359475, at *7 (granting Defendant’s Motion to Compel

   Arbitration and to Dismiss Plaintiff’s TCPA Complaint). Ultimately, “district courts are vested

   with discretion to determine whether stay or dismissal is appropriate.” Cusilito at *3 quoting




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   Swartz v. Westminister Servs., Inc., No. 810-CV-1722-T-30AEP, 2010 WL 3522141, at *2 (M.D.

   Fla. Sept. 8, 2010). This Court should exercise its discretion to compel arbitration and dismiss

   this case.

       II. CONCLUSION

           For the foregoing reasons, this case must be compelled to arbitration and dismissed. Or,

   alternatively, this case must be compelled to arbitration and the proceedings stayed under Section

   3 of the FAA until the arbitrator enters a final award.

                            CERTIFICATE OF GOOD FAITH
                     CONFERRAL PURSUANT TO LOCAL RULE 7.1(a)(3)

           Counsel for the movant has conferred with all parties or non-parties who may be affected

   by the relief sought in the motion in a good faith effort to resolve the issues raised in the motion

   and has been unable to do so.

   Dated: June 25, 2019                          Respectfully submitted,

                                                 By:      /s/ Gregg I. Strock
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